          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:05CR250-2


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                       ORDER
                         )
                         )
RICHIE WAYNE HELTON      )
                         )


      THIS MATTER is before the Court on the Defendant’s appeal from

the Magistrate Judge’s order of detention pending sentencing.



                        I. STANDARD OF REVIEW

      Title 18 U.S.C. § 3145 provides in pertinent part that “[i]f a person is

ordered detained by a magistrate judge, . . . the person may file, with the

court having original jurisdiction over the offense, a motion for revocation

or amendment of the order.” 18 U.S.C. § 3145(b).

      When the district court acts on a motion to revoke or amend a
      magistrate judge’s pretrial detention order, the district court
      acts de novo and must make an independent determination of
      the proper pretrial detention or conditions of release. [T]he
      question becomes whether the evidence as a whole supports
      the conclusions of the proceedings below. The standard of


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      review for pretrial detention orders under 18 U.S.C. § 3145[(b)]
      is one of independent review, with “deference to the
      determination of the district court.”

      Section 18 U.S.C. § 3142(e) of the Bail Reform Act, which
      governs release or detention pending trial, dictates that if, after
      holding a hearing, the court finds that no “condition or
      combination of conditions will reasonably assure the
      appearance of the person as required, and the safety of any
      other person and the community,” such court shall order the
      detention of the person before trial. The factors to be
      considered in determining whether to release a defendant
      pending trial are set forth in 18 U.S.C. § 3142(g) and include:
      (1) nature and circumstances of the offenses charged; (2) the
      weight of the evidence against the person; (3) the history and
      characteristics of the person, including family ties, the person’s
      character, ties to the community, and criminal history; and (4)
      the nature and seriousness of the danger to any person or the
      community that would be posed by the person’s release. For
      pretrial detention to be imposed on a defendant, the lack of
      reasonable assurance of either the defendant’s appearance or
      the safety of others or the community, is sufficient; both are not
      required. With regard to the risk of flight as a basis for
      detention, the government must prove by a preponderance of
      the evidence that no combination of conditions will reasonably
      assure the defendant’s presence at future court proceedings.

United States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001).



                               II. DISCUSSION

      The Defendant has been indicted with and pled guilty to conspiracy

to manufacture with intent to distribute at least 5 grams of

methamphetamine. Because the Defendant has three prior felony


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convictions for controlled substances offenses, he faces a mandatory

minimum of ten years in prison. 21 U.S.C. § 841(b)(1)(B). The Defendant

has an extensive criminal history; indeed, it appears that every time he was

arrested and placed on bond, he committed additional crimes while on

bond. His extensive criminal history is attributed, at least in part, to a

longstanding problem with substance abuse. And, while the Defendant

has just recently completed a substance abuse program, his prior history of

substance abuse strongly outweighs his recent, sparse period of sobriety.

      The Court has considered the factors provided by the statute and has

reviewed the Magistrate Judge’s findings. The undersigned cannot find

that the Defendant would not be a danger to the community if released

pending his sentencing hearing. Indeed, all of the evidence is to the

contrary. The Court, therefore, finds that no “condition or combination of

conditions will reasonably assure the appearance of the person as

required, and the safety of any other person and the community.”



                                 III. ORDER

      IT IS, THEREFORE, ORDERED that the Magistrate Judge’s Order of

Detention is hereby AFFIRMED.



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                               Signed: July 17, 2006




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